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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 KRISTANA DUNN,                                 §
                                                §
      Plaintiff,                                §
                                                § Civil Action No. 4:23-cv-03829
 v.                                             §
                                                §
 PHH MORTGAGE CORPORATION,                      §
                                                §
      Defendants.                               §

                  JOINT DISCOVERY/CASE MANAGEMENT PLAN
              UNDER RULE 26(F) FEDERAL RULES OF CIVIL PROCEDURE

        Kristana Dunn (“Plaintiff”) and PHH Mortgage Corporation (“Defendant” and collectively

the “Parties”) file this Proposed Rule 26(f) Joint Discovery/Case Management Plan.

(1)     State when the conference of the parties required by Rule 26(f) was held, and identify
        the counsel who represented each party.

The Parties conferred on November 16, 2023 by email correspondence.
Plaintiff’s Counsel in attendance:
Jason A. LeBoeuf
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Defendant’s Counsel in attendance:
Nicholas M. Frame
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(2)    List the cases related to this one that are pending in any state of federal court with
       the case number and court.

       None.

(3)    Specify the allegation of federal jurisdiction.

       There is diversity jurisdiction in this Court because there is complete diversity of
       citizenship between Plaintiff and Defendant, and more than $75,000.00 is in controversy,
       exclusive of interest and costs. See 28 U.S.C. § 1332.

(4)    Name the parties who disagree and the reasons.

       None.

(5)    List anticipated additional parties that should be included, when they can be added,
       and by whom they are wanted.

       None at this time.

(6)    List anticipated interventions.

       None at this time.

(7)    Describe class-action issues

       None.

(8)    State whether each party represents that it has made disclosures required by Rule
       26(a). If not, describe the arrangements that have been made to complete the
       disclosures.

       Defendant anticipates making its initial disclosures on or before December 15, 2023.

       Plaintiff anticipates making its initial disclosures on or before December 15, 2023.

(9)    Describe the proposed agreed discovery plan, including:

       (A)     Responses to all the matters raised in Rule 26(f).

       The Parties will make initial disclosures no later than December 15, 2023. The subjects
       on which discovery may be needed are: (1) items relating to the subject loan and subject
       real property; (2) items relating to communications between Plaintiff and the Defendant,
       or any other interested party, or their representatives. Plaintiff anticipates that no more
       than six months will be needed for discovery and does not believe that there should be


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      any phases or limit to discovery other than what is allowed under the Federal Rules of
      Civil Procedure

      (B)    When and to whom the plaintiff anticipates it may send interrogatories.

      Plaintiff anticipates it may send interrogatories to the Defendant or any other interested
      party before the end of the discovery period, proposed to be May 14, 2024. Plaintiff
      reserves the right to amend before the close of discovery.

      (C)    When and to whom the defendant anticipates it may send interrogatories.

      Defendant anticipates it may send interrogatories to the Plaintiff or any other interested
      party before the end of the discovery period, proposed to be May 14, 2024. Defendant
      reserves the right to amend before the close of discovery.

      (D)    Of whom and by when the plaintiff anticipates taking oral depositions.

      Plaintiff anticipates it may take oral depositions of the Defendant or any other interested
      party before the end of the discovery period, proposed to be May 14, 2024. Plaintiff
      reserves the right to amend before the close of discovery.

      (E)    Of whom and by when the defendant anticipates taking oral depositions.

      Defendant anticipates it may take oral depositions of the Plaintiff or any other interested
      party before the end of the discovery period, proposed to be May 14, 2024. Defendant
      reserves the right to amend before the close of discovery.

      (F)    When the plaintiff (or party with the burden of proof on an issue) will be able
             to designate experts and provide the reports required by Rule 26(a)(2)(B), and
             when the opposing party will be able to designate responsive experts and
             provide their experts.

      Plaintiff will be able to designate experts and provide the reports required by February 14,
      2024. Defendant will be able to designate experts and provide the reports required by
      March 15, 2024.

      (G)    List expert depositions the plaintiff (or party with the burden of proof on an
             issue) anticipates taking their anticipated completion date. See Rule
             26(a)(2)(B) (expert report).

      Plaintiff anticipates taking the depositions of Plaintiff’s experts before the end of the
      discovery period, proposed to be May 14, 2024. Plaintiff reserves the right to amend before
      the close of discovery.

      (H)    List expert depositions the opposing party anticipates taking and their
             anticipated completion date. See Rule 26(a)(2)(B) (expert report)


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        Defendant anticipates taking the depositions of Defendant’s experts before the end of the
        discovery period, proposed to be May 14, 2024. Defendant reserves the right to amend
        before the close of discovery.

(10)    If the parties are not agreed on a part of the discovery plan, describe the separate
        views and proposals of each party.
        No disputes regarding discovery at this time.
(11)    Specify the discovery beyond initial disclosures that has been undertaken to date.

        None.

(12)    State the date the planned discovery can reasonably be completed.

        May 14, 2023

(13)    Describe the possibilities for a prompt settlement or resolution of the case that were
        discussed in your Rule 26(f) meeting.

        The Parties are open to informal settlement discussions.

(14)    Describe what each party has done or agreed to do to bring about a prompt resolution
        of this dispute.

        None at this time.

(15)    From the attorneys’ discussions with their client(s), state the alternative dispute
        resolution techniques that are reasonably suitable.

        If the Court believes that it is in the best interest of the Parties, the Parties would consent
        to mediation in an effort to settle this matter.

(16)    Magistrate judges may now hear jury and non-jury trials. Indicate the parties’ joint
        position on a trial before a magistrate judge.

        The Parties do not consent to refer this case to the magistrate judge.

(17)    State whether a jury demand has been made and if it was made on time.

        No jury demand has been made.

(18)    Specify the number of hours it will take to present evidence in this case.

        The parties anticipate it will take 4-8 hours to present evidence in this case.



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(19)    List pending motions that could be ruled on at the initial pretrial and scheduling
        conference.

        None at this time.

(20)    List other pending motions.

        None at this time.

(21)    Indicate other matters peculiar to this case, including but not limited to traditional
        and electronic discovery issues, that deserve the special attention of the court at the
        conference.

        None at this time.

(22)    List the names, bar numbers, addresses and telephone numbers of all counsel.

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        Counsel for Defendant:
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        Southern District Bar No. 21340
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      /s/ Jason A. LeBoeuf signed with permission    November 16, 2023
      Jason A. LeBoeuf
      Counsel for Plaintiff

      /s/ Nicholas M. Frame                          November 16, 2023
      Nicholas M. Frame
      Counsel for Defendant




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